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                                  Receipt number AUSFCC-9715400
                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                 (BID PROTEST)

                                                     *       Redacted Version
TRAILBOSS ENTERPRISES, INC.,                         *

               Plaintiff,
                                                     *
                                                     *
                                                                           24-1108C
                                                              Case No. ______________
                                                     *
        v.                                           *        FILED UNDER SEAL
                                                     *
THE UNITED STATES,                                   *
                                                     *
               Defendant.                            *
                                                     *

                                 BID PROTEST COMPLAINT

       For its Bid Protest Complaint against the United States, Plaintiff Trailboss Enterprises, Inc.

(“Trailboss”), by and through undersigned counsel, alleges as follows:

                                     I.   INTRODUCTION

       1.      This is a post-award bid protest action against the United States of America, acting

through the General Services Administration, Office of Acquisition Operations, Office of Travel,

Transportation and Logistics (“GSA” or the “Agency”) seeking declaratory judgment and

permanent injunctive relief.

       2.      This bid protest challenges as arbitrary, capricious, an abuse of discretion, and

contrary to law the Agency’s irrational decision to award a contract to Acuity International, LLC

(“Acuity”) under Request for Proposal No. 47QMCH23R0001 (the “RFP”). The RFP sought

proposals from firms to provide transportation and logistics services for unaccompanied children

(“UC”) in the custody and care of the U.S. Department of Health & Human Services (“HHS”).

       3.      As further explained below,




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       4.      GSA’s arbitrary and capricious actions competitively prejudiced Trailboss. GSA’s

flawed source selection process caused the Agency to improperly award the contract to Acuity

under the RFP. But for GSA’s arbitrary and capricious actions, Trailboss would have received

award of the contract.

       5.      In this bid protest proceeding, Trailboss seeks declaratory judgment and permanent

injunctive relief. Trailboss will suffer immediate and irreparable harm if the Court does not enter

judgment in its favor.

                                         II.   PARTIES

       6.      The Plaintiff is Trailboss Enterprises, Inc., a corporation organized under the laws

of the State of Alaska. Trailboss timely submitted a proposal in response to Request for Proposal

No. 47QMCH23R0001 for the procurement that is the subject of this bid protest proceeding.

       7.      The Defendant is the United States of America, acting through the General Services

Administration on behalf of the U.S. Department of Health & Human Services.

                            III.   JURISDICTION AND VENUE

       8.      The United States Court of Federal Claims has jurisdiction over this post-award bid

protest action pursuant to the Tucker Act, 28 U.S.C. § 1491(b)(1), as amended by the

Administration Dispute Resolution Act. Specifically, this Court has “jurisdiction to render

judgment on an action by an interested party objecting to . . . a proposed contract or to a proposed

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award or the award of a contract or any alleged violation of statute or regulation in connection with

a procurement or a proposed procurement.” Id.

       9.      Trailboss is an “interested party” to pursue this post-award bid protest because it

was an actual offeror who submitted a technically acceptable proposal in response to the RFP and,

but for the Agency’s arbitrary and capricious actions, had a substantial chance of receiving award

of the contract. See REV, LLC v. United States, 91 F.4th 1156, 1164 (Fed. Cir. 2024).

       10.     Venue for this post-award bid protest is proper in the United States Court of Federal

Claims pursuant to the Tucker Act, 28 U.S.C. § 1491.

                              IV.   FACTUAL ALLEGATIONS

A. THE REQUEST FOR PROPOSALS

       11.     On November 22, 2022, GSA published the RFP seeking proposals from firms in

support of the Office of Refugee Resettlement (“ORR”) Division of Unaccompanied Children’s

Operations (“DUCO”). Throughout the RFP, this procurement is generally referred to as the

“Unaccompanied Children Transportation and Logistics” (“UCTL”) program.

       12.     The ORR DUCO’s mission is to provide transportation and logistics services for

UCs in HHS’s custody and control, including placement with approved sponsors, during the

pendency of their immigration cases.

       13.     ORR DUCO utilizes a national contractor to provide UCTL services within the

ORR network, including scalable transportation for large-scale UC movement in the event of

emergencies, surges in the UC population, or other ad hoc needs directed by the Government. This

procurement followed several years of GSA acquiring the UCTL services on a sole-source,

noncompetitive basis.




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       14.       The UCTL program includes commercial transportation services utilizing buses,

vans, taxis, and air transportation for scheduled and unscheduled routes. The RFP required firms

to furnish all requisite vehicles and unarmed escort staff necessary to perform the UCTL services.

It specifically required the contractor to provide sufficient staffing to perform transportation

services for approximately 8,000 UCs per month.

       15.       The RFP contemplated the award of a contract for a one-year base period, with

the potential of four (4) additional one-year option periods, for a five-year contract period of

performance.

     i. INSTRUCTIONS TO OFFERORS

       16.       The RFP required firms to submit proposals in three non-price volumes, and submit

a Standard Form (“SF”) 1449 with line-item pricing. The technical non-price factors included:

(i) Volume 1: Technical Capability; (ii) Volume 2: Management; and (iii) Volume 3: Past

Performance.

       17.       For the Technical Capability volume, the RFP limited each offeror’s response to

25 pages. The RFP set forth the following instructions for the Technical Capability factor:

                Describe how the Offeror will ensure their ability to provide uninterrupted coverage
                 for the transportation of UCs 24 hours a day, seven days a week, 365 days a year.

                    o Offerors must submit a process map, or other visual representation of the
                      work proposed in transporting UC. The map should begin with the receipt
                      of the notification that UC require transportation and end with successful
                      sponsor reunification, with each step in the offered process displayed in a
                      logical, sequential manner.

                    o Offerors must submit a narrative that describes each process step,
                      specifically identifying what event or action begins the step, what event or
                      action concludes the step, what activities will occur during the step, what
                      risks exist in each step and how those risks will be mitigated.

                    o Offerors must address how they will ensure the availability of trained,
                      qualified staff throughout the transportation process.

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                     o Describe how the Offeror intends to provide services and what
                       considerations will be made when a large-scale transportation event is
                       identified.

                     o Describe the software/computer technology that will be used in maintaining
                       real time tracking of UC movements as required in PWS section 5.8.

                Contractor owned vehicles:

                     o Provide a list of available vehicles in Offerors fleet, or describe the proposed
                       method for ensuring sufficient number of vehicles are available for
                       transportation upon award.

                     o Include if vehicles will need to be acquired prior to beginning performance.

                     o The offeror shall describe how their fleet is managed and maintained to a
                       level at or above the manufacturer’s recommendations.

       18.       For the Management volume, the RFP limited each offeror’s response to 15 pages.

The RFP set forth the following instructions for the Management factor:

                Describe the clearance/background check process for hiring UC Escorts, and
                 explain the process anticipated for ensuring the availability of escorts in rural areas.

                Describe the training curriculum to be utilized for UC Escorts and for all other
                 Contractor employees during the performance of the contract. The minimum
                 following information shall be provided.

                     o Description of topics – section 15 of the PWS describes the minimum
                       training topics required.

                     o Number of training sessions.

                     o Duration of training(s).

                     o Frequency of training(s). This includes how often Escorts are required to
                       retake the training.

                Provide the resumes for the key personnel required in the PWS, section 14.

       19.       Relevant to the Management factor, Section 14 of the PWS specified the “Key

Personnel” for the UCTL program. This included “[a] Lead Project Director and an Alternate

Lead Project Director.” The RFP specifically stated:


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               The Lead Project Director shall oversee all aspects of the project, coordinate
               resources, assure quality control processes are in place, and ensure
               conformance with task schedules. In addition, the LPD shall meet with the
               Government monthly and Contractor personnel on a regular basis to review
               tasks, deliverables, and overall contract performance. The contractor shall
               propose an Alternate Lead Project Director to assume the duties of the Lead
               Project Director in his/her absence. The Lead and Alternate shall have full
               authority to act for the Contractor on all contract matters relating to daily
               operation of the contract. The Lead or Alternate shall keep the Contracting
               Officer and COR informed of any performance issues, cost or financial
               concerns, and potential problems that, if unresolved, will adversely affect
               the Contractor’s performance, schedule, or quality. The Lead or Alternate
               shall take all appropriate measure to mitigate adverse impact to the
               contractor and subsequently to ORR. Requirements:

                     Master’s degree in Transportation Planning, Public Administration,
                      or a related field plus five years of progressive project management
                      experience on projects demonstrating advanced levels of financial
                      and managerial responsibilities.

                     Significant experience in local, regional, or state transportation
                      planning and policy, urban planning, intergovernmental agency
                      outreach and or closely related planning program area.

                     Clean criminal background check.

                     Clean Child Abuse and Neglect (CAN) or child protective services
                      check.

       20.     Finally, for the Past Performance volume, the RFP required offerors to submit a

minimum of three, and a maximum of five, “recent” and “relevant” contract references. For each

reference, the RFP required offerors to provide (i) the customer or agency name, (ii) the contract

number, (iii) a point of contact (i.e., the Contracting Officer or other similar for commercial

contract), (iv) the approximate total contract value, (v) the contract period of performance

(including base and option years), (vi) a description of the contracted supplies or services,

and (vii) a short narrative on how the contract’s performance information is relevant to the RFP.




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        21.     Finally, the RFP invited offerors to provide an additional explanation in the Past

Performance volume if its performance under a particular contract reference was less than

satisfactory.

        22.     As noted above, the Past Performance volume required offerors to submit both

“recent” and “relevant” contract references. The RFP defined those terms as follows:

        Recent awards are those with ultimate completion dates no greater than 3 years from the
        year in which this solicitation is issued. Example: If this solicitation is issued in 2022, a
        contract would need to have a completion date no earlier than 2019 to be considered recent.

        Relevant awards are those that include requirements to make travel reservations, provide
        escorted transportation, track in real time transportation, and ensure on time completion of
        transportation for people within the United States on a local, regional and/or interstate
        basis, or are otherwise similar in the type of work described in the PWS. Relevant does not
        include contracts that may only have a similar value, contract type, or exist between the
        offeror and the same agency or organization.

        23.     For the Price volume, the RFP required offerors to submit their pricing information

via the SF 1449 with firm fixed-price and fixed-price, level of effort line-items to perform the

UCTL services for the base period and each of the potential option periods.

        24.     The RFP set forth a proposal submission deadline of January 27, 2023. GSA

extended the proposal deadline three times, the most recent occurring when GSA extended the

deadline to February, 21, 2023 in Amendment A00003 to the RFP.

      ii. EVALUATION CRITERIA

        25.     For the Technical Capability factor, the RFP sets forth the following evaluation

criteria:

      Rating                                        Description
 3 – High            To be rated as a 3, an offeror must demonstrate in its technical capability
                     volume:

                      1. A staffing plan that describes the offeror’s ability and method to provide
                         an adequate number of appropriately trained staff to provide coverage
                         24 hours a day, seven days a week, 365 days a year. The plan must

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                   describe the offeror’s solution in sufficient detail to leave no doubt in
                   the evaluators [sic] judgment of its ability to perform at the stated level,
                   and an evaluator must have no additional questions or need for
                   additional information in addition to what is provided in the technical
                   capability volume to rate the volume at a 3 level.

               2. A demonstrated capability of conducting a large-scale transfer. This
                  capability must be described in adequate detail to leave no doubt in the
                  evaluator’s judgment of its ability to accomplish a large-scale transfer
                  at the stated level, and an evaluator must have no additional questions
                  or need for additional information in addition to what is provided in the
                  technical capability volume to rate the volume at a 3 level.

               3. The offeror’s system for maintaining positive accountability for UC
                  must provide real time tracking of each UC and provide all information
                  described by the work statement for each UC. In order to be rated a 3,
                  the offeror must describe its real time tracking and required date
                  elements in sufficient detail to require no additional information in
                  addition to the provided proposal.

               4. Contractor provided vehicles are the appropriate size, are readily
                  available for use, and are maintained to a level at or above the
                  manufacturer’s recommendations. To receive a 3 rating, the offeror will
                  describe its supplied vehicle information in sufficient detail to address
                  all evaluator questions and to require no additional information in
                  addition to what is provided in the technical capability volume.
2 – Medium    To be rated as a 2, an offeror must demonstrate in its technical capability
              volume:

               1. A staffing plan that describes the offeror’s ability and method to provide
                  an adequate number of appropriately trained staff to provide coverage
                  24 hours a day, seven days a week, 365 days a year. The plan must
                  describe the offeror’s solution in detail, but fails to do so at a level that
                  leaves no doubt in the evaluators [sic] judgment of its ability to perform
                  at the stated level, and an evaluator must request additional information
                  from an offeror in addition to what is provided in the technical
                  capability volume to rate the volume at a 2 level.

               2. A demonstrated capability of conducting a large-scale transfer. This
                  capability must be described in detail, but the technical capability
                  volume fails to explain this capability sufficiently so that an evaluator
                  must request additional information from an offeror in addition to what
                  is provided in the technical capability volume.

               3. The offeror’s system for maintaining positive accountability for UC
                  must provide real time tracking of each UC and provide all information

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                       described by the work statement for each UC. In order to be rated a 2,
                       the offeror must describe its real time tracking and required data
                       elements in detail, but not in sufficient detail so that additional
                       information must be requested from the offeror.

                   4. Contractor provided vehicles are the appropriate size, are readily
                      available for use, and are maintained to a level at or above the
                      manufacturer’s recommendations. To receive a 2 rating, the offeror will
                      describe its supplied vehicle information in detail, but not in sufficient
                      detail to address all evaluator questions without the need to request
                      additional information from the offeror.
 1 – Low          To be rated as a 1, an offeror must demonstrate in its technical capability
                  volume:

                   1. A staffing plan that fails to describe the offeror’s ability and method to
                      provide an adequate number of appropriately trained staff to provide
                      coverage 24 hours a day, seven days a week, 365 days a year. The
                      number of evaluated weaknesses and deficiencies in the plan are so
                      great that only an extensive proposal revision is likely to address the
                      identified issues.

                   2. A demonstrated capability of conducting a large-scale transfer. This
                      capability is not described in detail or at all, but the technical capability
                      volume fails to demonstrate that the offeror understands the contract
                      requirements, and only through an extensive proposal revision can these
                      evaluated weaknesses and deficiencies be addressed.

                   3. The offeror’s system for maintaining positive accountability for UC
                      must provide real time tracking of each UC and provide all information
                      described by the work statement for each UC. In order to be rated a 1,
                      the offeror must fail to describe its real time tracking and required data
                      elements in detail, and the evaluated weaknesses and deficiencies can
                      only be addressed through extensive proposal revision.

                   4. Contractor provided vehicles are the appropriate size, are readily
                      available for use, and are maintained to a level at or above the
                      manufacturer’s recommendations. To receive a 1 rating, the offeror will
                      fail to describe its supplied vehicle information in detail, and the
                      evaluated weaknesses and deficiencies are so great that only an
                      extensive proposal revision is likely to address them.

      26.    For the Management factor, the RFP further sets forth the following evaluation

criteria, as amended by Amendment A00003:



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     Rating                                     Description
3 – High       To be rated as a 3, an offeror must demonstrate in its Management Volume:

               1. Describe the clearance/background check process for hiring UC
                  Escorts. To be rated as a 3, the clearance process will be described in a
                  manner that ensures effective background checks are being conducted,
                  and that no additional information is needed from the offeror in addition
                  to their proposal to address any evaluator questions.

               2. A detailed plan for ensuring the availability of escorts in rural areas. To
                  be rated as a 3, the plan should be comprehensive such that no additional
                  information is needed from the offeror in addition to their proposal to
                  address any evaluator questions.

               3. Describe the training curriculum to be utilized for UC Escorts and for
                  all other Contractor employees during the performance of the contract.
                  The minimum following information shall be provided:
                       a. Description of topics – section 15 of the PWS describes the
                          minimum training topics required.
                       b. Number of trainings.
                       c. Duration of training(s).
                       d. Frequency of training(s). This includes how often Escorts are
                          required to retake the training.
                  To be rated as a 3 level, the Management Volume must address each
                  listed element in sufficient detail that an evaluator completely
                  understands the proposal without the need for additional information
                  provided by the offeror. Evaluators must be confident that contractor
                  staff will be sufficiently trained to care for and transports UCs in a safe,
                  compassionate and efficient manner to rate the Management Volume at
                  a 3 level.

                4. Provide the resumes for the key personnel required in the PWS, section
                   14. Evaluators will review key personnel to ensure that individuals hold
                   the appropriate credentials and have sufficient experience to oversee the
                   project. To be rated at a 3 level, the evaluator must be able to identify
                   that experience and credentials are sufficient without requiring any
                   additional information from the offeror.
2 – Medium     To be rated as a 2, an offeror must demonstrate in its Management Volume:

               1. Describe the clearance/background check process for hiring UC
                  Escorts. To be rated as a 2, the clearance process will be described in a
                  manner that ensures effective background checks are being conducted,
                  but not in a manner that allows an evaluator to completely understand
                  the process without requesting additional information from the offeror.


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              2. A detailed plan for ensuring the availability of escorts in rural areas. To
                 be rated as a 2, the plan/process will be described in a manner that
                 addresses how the offeror will ensure the availability of escorts in rural
                 areas, but not in a manner that allows an evaluator to completely
                 understand the plan/process without requesting additional information
                 from the offeror.

              3. Describe the training curriculum to be utilized for UC Escorts and for
                 all other Contractor employees during the performance of the contract.
                 The minimum following information shall be provided:
                      a. Description of topics – section 15 of the PWS describes the
                         minimum training topics required.
                      b. Number of trainings.
                      c. Duration of training(s).
                      d. Frequency of training(s). This includes how often Escorts are
                         required to retake the training.
                 To be rated as a 2 level, the Management Volume must address each
                 listed element, however the Volume fails to provide sufficient detail so
                 that an evaluator completely understands the proposal, and will require
                 additional information provided by the offeror. Evaluators must be able
                 to identify that contractors staff will be trained to care for and transport
                 UCs in a safe, compassionate and efficient manner, but will require
                 additional information to fully understand the offeror’s approach to
                 training its personnel.

               4. Provide the resumes for the key personnel required in the PWS, section
                  14. Evaluators will review key personnel to ensure that individuals hold
                  the appropriate credentials and have sufficient experience to oversee the
                  project. To be rated at a 2 level, the evaluator must be able to identify
                  that either experience and credentials are sufficient, but will require
                  additional information from the offeror to fully qualify the key
                  personnel.
1 – Low       To be rated as a 1, an offeror must demonstrate in its Management Volume:

              1. Describe the clearance/background check process for hiring UC
                 Escorts. To be rated as a 1, will not be described in a manner that
                 ensures effective background checks are being conducted, and that
                 evaluated weaknesses and deficiencies can only be addressed through
                 extensive proposal revision.

              2. A detailed plan for ensuring the availability of escorts in rural areas. To
                 be rated as a 1, a clearance process will not be described in a manner
                 that ensures effective background checks are being conducted ,and that
                 evaluated weaknesses and deficiencies can only be addressed through
                 an extensive proposal revision.


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                     3. Describe the training curriculum to be utilized for UC Escorts and for
                        all other Contractor employees during the performance of the contract.
                        The minimum following information shall be provided:
                             a. Description of topics – section 15 of the PWS describes the
                                minimum training topics required.
                             b. Number of trainings.
                             c. Duration of training(s).
                             d. Frequency of training(s). This includes how often Escorts are
                                required to retake the training.
                        To be rated as a 1 level, the Management Volume fails to address each
                        listed element, and/or the Volume fails to provide detail to allow an
                        evaluator to believe the offeror understood the government’s
                        requirements. Evaluators cannot determine whether or not contractor
                        staff will be trained to care for and transports UCs in a safe,
                        compassionate and efficient manner, and the number of weaknesses and
                        deficiencies will require an extensive proposal revision to address.

                     4. Provide the resumes for the key personnel required in the PWS, section
                        14. Evaluators will review key personnel to ensure that individuals hold
                        the appropriate credentials and have sufficient experience to oversee the
                        project. To be rated at a 1 level, the evaluator will not be able to
                        determine whether key personnel have the required experience or
                        certifications, and the proposal will require an extensive revision to
                        address the evaluated weaknesses and deficiencies.

        27.    Finally, for the Past Performance factor, the RFP sets forth the following evaluation

criteria:

      Rating                                       Description
 3 – High           To be rated as a 3, an offeror must demonstrate in its Past Performance
                    Information:

                    A high degree of confidence that the contractor is capable of performing at
                    least a SATISFACTORY level based on a review of offeror provided and
                    Contracting Officer provided past performance information:

                     1. The majority of past performance ratings are SATISFACTORY or
                        higher.

                     2. The contractor has a documented history of meeting contract
                        performance standards, and of overcoming challenges associated with
                        contract performance.

                     3. Nothing in the offeror submitted or Contracting Officer submitted past
                        performance information leads an evaluator to believe than an offeror

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                   will struggle to perform at the government’s stated standards or
                   overcome performance issues that arise during performance.
2 – Neutral    To be rated as a 2, an offeror must demonstrate in its Past Performance
               Information:

               A neutral degree of confidence that the contractor is capable of performing
               at least a SATISFACTORY level based on a review of offeror provided and
               Contracting Officer provided past performance information:

               1. The majority of past performance ratings are SATISFACTORY, with
                  few ratings higher or lower than satisfactory.

               2. The contractor has a documented history of meeting contractor
                  performance standards, and of overcoming challenges associated with
                  contract performance with few issues that may be expected on this effort
                  based on their previous contract performance.

               3. Few instances of marginal performance in the offeror submitted or
                  Contracting Officer submitted past performance information leads an
                  evaluator to believe that an offeror will most likely not struggle to
                  perform at the government’s stated standards or overcome performance
                  issues that arise during performance.

                4. If a vendor has no RECENT or RELEVANT past performance, it will
                   be rated as a 2 for evaluation purposes.
1 – Low        To be rated as a 1, an offeror must demonstrate in its Past Performance
               Information:

               A low degree of confidence that the contractor is capable of performing at
               least a SATISFACTORY level based on a review of offeror provided and
               Contracting Officer provided past performance information:

               1. The majority of past performance ratings are MARGINAL, with few
                  ratings higher or lower than marginal.

               2. The contractor has a documented history of failing to meet contract
                  performance standards, and/or to overcome challenges associated with
                  contract performance with many issues that may be expected on this
                  effort based on their previous contract performance.

               3. Many instances of marginal or unsatisfactory performance in the offeror
                  submitted or Contracting Officer submitted past performance
                  information leads an evaluator to believe than an offeror will most likely
                  struggle often to perform at the government’s stated standards and/or
                  fail to overcome performance issues that arise during performance.



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       28.      For the Technical Capability and the Management factors, the RFP set forth the

following rating scheme:

             a. Strength – an aspect of the evaluated proposal that exceeds a stated standard or
                represents an aspect that an evaluator believes will allow a contractor to perform
                above the government’s minimum requirement.

             b. Weakness – an aspect of the evaluated proposal that an evaluator feels either fails
                to completely describe how an offeror will achieve a contract standard, or an aspect
                that an evaluator believes will impede an offeror’s ability to meet the government’s
                minimum requirement.

             c. Significant Weakness – a weakness that, in the evaluator’s opinion, will jeopardize
                successful contract performance. An evaluator must connect the weakness to the
                aspect of performance that is extremely likely to fail should the weakness not be
                addressed through a proposal revision.

             d. Deficiency – an aspect of a proposal that is missing, omitted, or not described
                completely. Deficiencies are procedural failures on the part of an offeror to provide
                a complete proposal, a complete explanation of a procedure or solution, or other
                aspect of a proposal that is insufficient for evaluation due to missing information.

     iii. SOURCE SELECTION METHOD

       29.      The RFP incorporates Federal Acquisition Regulation (“FAR”) 52.212-2,

Evaluation – Commercial Products and Commercial Services. It establishes GSA’s selection of a

best-value tradeoff source selection method. The RFP specifically states:

       The Government will award a contract resulting from this solicitation to the
       responsible offeror whose offer conforming to the solicitation will be most
       advantageous to the Government, price and other factors considered. The following
       factors shall be used to evaluate offers:

             Technical Capability
             Management
             Past Performance
             Total Price

       30.      The RFP then goes on to explain the best-value tradeoff method, stating: “Technical

and past performance, when combined, are approximately equal when compared to price.”

Notably, however, the Management factor is omitted from this tradeoff scheme.

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       31.    Elsewhere, the RFP describes the Source Selection Evaluation Board’s (“SSEB”)

duty to provide an award recommendation to the Source Selection Authority (“SSA”). It states:

              SSEB Recommendation - Upon the successful completion of the evaluation
              process, the SSEB will recommend one offeror for award based upon the
              results of their evaluation. This recommendation must consider all ratings
              and total evaluated price, and ensure that all the non-price factors are, when
              combined, approximately equal to price when recommending an offeror for
              consideration to the SSA. If the SSEB believes a trade-off is warranted,
              meaning that a higher priced proposal represents a better value to the
              government based on its superior non-price factor ratings, it will provide its
              rationale to the SSA with its recommendation. The SSEB recommendation
              should be included in the SSEB Rating Report.

B. TRAILBOSS’S PROPOSAL SUBMISSION

       32.    On February 21, 2023, Trailboss submitted a proposal to GSA in response to the

RFP.




       33.




C. GSA’S FIRST AWARD ANNOUNCEMENT

       34.    On June 15, 2023, GSA notified Trailboss of its decision to award a contract to

Acuity. The notice referred to GSA’s “In-Depth Findings Using Open Reporting Methods,” or

“INFORM,” debriefing process (the “June INFORM Notice”).



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       35.      The June INFORM Notice stated GSA received nine (9) proposals in response to

the RFP. With respect to its award decision, GSA provided a side-by-side comparison of its

evaluation of Acuity’s and Trailboss’s respective proposals:

 Evaluation Factor                 Acuity International, LLC       Trailboss Enterprises, Inc.
 Factor 1 – Technical Capability   3 – High
 Factor 2 – Management             3 – High
 Factor 3 – Past Performance       3 – High
 Evaluated Price                   $985,423,777.80

       36.




       37.     In addition, the June INFORM Notice provided GSA’s ranking of offerors who

submitted a proposal in response to the RFP, as follows:

 Offeror Cost/Price Ranking Chart
 1. Acuity International, LLC




       38.     Finally, the June INFORM Notice set forth GSA’s basis for awarding the contract

to Acuity, stating:

               Acuity International, LLC received the highest rating of 3 – High for
               Technical Capability, Management, and Past Performance. Their proposed
               price was the lowest proposed price and was determined to be fair and
               reasonable. Additionally, no alternative offeror was determined to offer
               technical superiority to support a trade-off to a higher price. In accordance


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               with the RFP, Acuity International’s proposal represents the best value to
               the government.

       39.




       40.     On June 30, 2024, GSA awarded Contract No. 47QMCH23C0002 to Acuity for a

total value, including the base period and options periods, of $985,423,777.80.

D. MVM, INC.’S FIRST BID PROTEST

       41.     On July 5, 2023, MVM, Inc. (“MVM”) filed a post-award bid protest before the

Government Accountability Office (“GAO”) challenging GSA’s decision to award a contract to

Acuity. GAO docketed the bid protest as B-421788.1.

       42.     The bid protest generally alleged that GSA’s “responsibility determination was

unreasonable in part based on its failure to consider information that, by its nature, would be

expected to have a strong bearing on whether Acuity is responsible.” MVM, Inc., B-421788.3,

B-421788.4, 2020 U.S. Comp. Gen. LEXIS 99, at *5 (Mar. 5, 2024) (referring to GAO Docket

No. B-421778.1). Specifically, MVM alleged that GSA failed to consider a recent settlement with

the U.S. Department of Justice resolving “allegations that Acuity’s affiliate had violated the Civil

False Claims Act, 31 U.S.C. §§ 3279–3733, and an ongoing class action lawsuit against [Acuity’s

affiliate] for allegedly failing to secure personally identifiable information.” Id. at *6.

       43.     After reviewing the record in response to MVM’s bid protest, GAO conducted an

outcome prediction conference with the parties. See id. In that conference, GAO “notified the

parties that it appeared several aspects of the agency's evaluation of the awardee's past performance



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were either unreasonable or inadequately documented, and that the agency's resulting best-value

tradeoff was flawed.” Id.

         44.   In response to the outcome prediction conference, GSA informed GAO of its

decision to take voluntary corrective action to “conduct[] a new past performance evaluation and

mak[e] a new source selection decision. GAO subsequently dismissed MVM’s bid protest as

academic.

E.    GSA’S SECOND AWARD ANNOUNCEMENT

         45.   On November 16, 2023, GSA notified Trailboss that it received a bid protest

challenging its prior contract award to Acuity. GSA also informed Trailboss that it undertook

corrective action to resolve that bid protest. The corrective action entailed GSA re-evaluating each

offeror’s Past Performance volume only and making a new award decision.

         46.   GSA’s email to Trailboss attached an updated INFORM Notice, again reflecting its

decision to award a contract to Acuity (the “November INFORM Notice”).

         47.   The November INFORM Notice reflected GSA’s decision to downgrade Acuity’s

proposal under the Past Performance factor from “3 – High” to “2 – Neutral.” This reflected

GSA’s conclusion that it merely had “[a] neutral degree of confidence that [Acuity] is capable of

performing at a SATISFACTORY level.” GSA’s remaining evaluation of Acuity’s proposal under

the Technical Capability and Past Performance factors did not change.

         48.   As a result, the November INFORM Notice set forth the following side-by-side

evaluation comparison of Acuity’s and Trailboss’s respective proposals:

 Evaluation Factor                 Acuity International, LLC       Trailboss Enterprises, Inc.
 Factor 1 – Technical Capability   3 – High
 Factor 2 – Management             3 – High
 Factor 3 – Past Performance       2 – Neutral
 Evaluated Price                   $985,423,777.80


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           49.




           50.   The November INFORM Notice left the ranking of offerors who submitted a

proposal in response to the RFP unchanged from the prior notice, as follows:

 Offeror Cost/Price Ranking Chart
 1. Acuity International, LLC




           51.   Finally, the November INFORM Notice set forth GSA’s “Rationale for Decision,”

stating:

                 Acuity International, LLC received the highest ratings of 3 – High for
                 Technical Capability and Management, and a rating of 2 – Neutral for Past
                 Performance. Their proposed price was the lowest proposed price and was
                 determined to be fair and reasonable. Additionally, no alternative offeror
                 was determined to offer technical superiority to support a trade-off to a
                 higher price and the increase in confidence from awarding to a vendor with
                 a higher past performance rating does not justify the significant price
                 increase. In accordance with the RFP, Acuity International’s proposal
                 represents the best value to the government.

           52.   On November 16, 2023, GSA renewed its award decision and announced the award

of Contract No. 47QMCH24C0001 to Acuity in the amount of $985,423,777.80.

F.    MVM, INC.’S SECOND BID PROTEST

           53.   On December 5, 2024, MVM filed a second bid protest before GAO challenging

GSA’s decision to award the contract to Acuity. GAO docketed the bid protest as B-421788.2.

MVM subsequently filed a supplemental bid protest, docketed by GAO as B-421788.3.


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       54.     According to GAO’s published decision, MVM challenged the qualifications of

“Acuity’s proposed lead project director, one of the [RFP]’s lead personnel positions.” MVM, Inc.,

2020 U.S. Comp. Gen. LEXIS 99, at *8. MVM alleged further that “GSA unreasonably concluded

that Acuity was a responsible offeror because the contracting officer failed to consider relevant

information regarding a False Claims Act settlement between Acuity’s affiliate . . . and [the

Department of Justice] that was announced in 2022.” Id. at *16.

       55.     In a decision dated March 5, 2024, GAO sustained MVM’s bid protest on both

grounds. On the first issue, Acuity’s failure to meet the RFP’s key personnel requirement, GAO

concluded that “the evaluation record [did] not contain sufficient information to establish that the

agency reasonably credited Acuity’s proposal for meeting the applicable key personnel experience

requirement.” Id. at 11, 12 (noting that “none of the evaluators discussed their consideration of

the proposed key personnel’s management experience demonstrating advanced financial

responsibility”). With regard to the second issue of Acuity’s responsibility, GAO further observed

“the absence of any consideration by the contracting officer as to whether known allegations of

fraud against an affiliate affected the awardee’s responsibility,” thus concluding that “the

contracting officer failed to reasonably consider information that was known or reasonably should

have been known that, by its nature, would be expected to have a strong bearing on whether the

awardee should be found responsible.” Id. at *21.

       56.     In sustaining MVM’s bid protest, GAO “recommend[ed] that the agency reevaluate

proposals under the management factor in a manner consistent with the terms of the solicitation

and [GAO]’s decision and make a new award decision, or alternatively, reopen discussions and

request revised proposals before reevaluating.” Id. at *24. GAO further “recommend[ed] that the




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agency make and adequately document a responsibility determination as part of the new award

decision.” Id.

G. GSA’S FINAL AWARD ANNOUNCEMENT

       57.       On June 10, 2024, GSA notified Trailboss of its decision to again award the contract

to Acuity. Like before, GSA provided Trailboss a new INFORM notice (the “Final INFORM

Notice”) describing its award decision.

       58.       The Final INFORM Notice reflected GSA’s decision to further downgrade the

Acuity’s proposal under the non-price factors. Specifically, GSA lowered Acuity’s rating under

the Management factor from “3 – High” to “2 – Mid.” Under the terms of the RFP, this indicates

that the Management volume submitted by Acuity lacked clarity and would require “additional

information” for GSA to understand the firm’s proposed approach.

       59.       The Final INFORM Notice set forth a new side-by-side evaluation comparison of

Acuity’s and Trailboss’s respective proposals:

 Evaluation Factor                 Acuity International, LLC         Trailboss Enterprises, Inc.
 Factor 1 – Technical Capability   3 – High
 Factor 2 – Management             2 – Mid
 Factor 3 – Past Performance       2 – Neutral
 Evaluated Price                   $985,423,777.80

       60.




       61.       The Final INFORM Notice left the ranking of offerors unchanged from the prior

notice, as follows:

 Offeror Cost/Price Ranking Chart
 1. Acuity International, LLC



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       62.    Last, the Final INFORM Notice set forth GSA’s “Rationale for Decision,” stating:

              Acuity International, LLC received the highest ratings of 3 – High for
              Technical Capability and a rating of 2 – Mid for Management and a rating
              of 2 – Neutral for Past Performance. Their proposed price was the lowest
              proposed price and was determined to be fair and reasonable. Additionally,
              no alternative offeror was determined to offer technical superiority to
              support a trade-off to a higher price, and the increase in confidence from
              awarding to a vendor with a higher Past Performance and Management
              rating does not justify the significant price increase. In accordance with the
              RFP, Acuity International’s proposal represents the best value to the
              government.

       63.    On June 10, 2024, GSA once again renewed its award decision and announced the

award of Contract No. 47QMCH24C0001 to Acuity in the amount of $985,423,777.80.

H. TRAILBOSS’S INFORM DEBRIEFING FROM GSA

       64.



       65.




       66.




       67.    This bid protest proceeding follows GSA’s arbitrary and capricious decision to

award the contract to Acuity.



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                                  V.    CLAIMS FOR RELIEF

                                             COUNT I
                     (                                                      )

       68.     Plaintiff repeats and incorporates by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

       69.



       70.




       71.     According to the RFP, GSA committed to utilize a best-value tradeoff source

selection method after evaluating each of the non-price factors. The RFP provided that the “all

the non-price factors are, when combined, approximately equal to price.”




       72.     Trailboss was prejudiced by

But for GSA’s error, Trailboss had a substantial chance of being awarded the contract under the

RFP.




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       73.     Injunctive and declaratory relief are necessary to resolve this controversy between

Trailboss and the United States.

                                             COUNT II
                             (Irrational Best-Value Tradeoff Decision)

       74.     Plaintiff repeats and incorporates by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

       75.     Under applicable decisional law, a tradeoff source selection method requires the

procuring agency to conduct a meaningful analysis comparing proposals to determine the best

value to the government. It “obliges the agency to do more than simply parrot back the strengths

and weaknesses of the competing proposals–rather, the agency must dig deeper and determine

whether the relative strengths and weaknesses of the competing proposals are such that it is worth

paying a higher price.” Serco Inc. v. United States, 81 Fed. Cl. 463, 497 (2008).

       76.     According to the RFP, GSA committed to utilize a best-value tradeoff source

selection method after evaluating each of the non-price factors. The RFP provided that the “all

the non-price factors are, when combined, approximately equal to price.”

       77.




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       79.




       80.     Trailboss was prejudiced by GSA’s failure to conduct a meaningful best-value

tradeoff resulting in an irrational decision to award the contract to Acuity. But for GSA’s error,

Trailboss had a substantial chance of being awarded the contract under the RFP.

       81.     Injunctive and declaratory relief are necessary to resolve this controversy between

Trailboss and the United States.

                                             COUNT III
                         (                                               )

       82.     Plaintiff repeats and incorporates by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

       83.     GSA’s evaluation of proposals and its decision to award the contract to Acuity

violated numerous procurement statutes and regulations, including (i) regulatory requirements to

treat offerors fairly and (ii) regulatory requirements to evaluate proposals exclusively against the

RFP’s stated evaluation criteria.




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       84.




       85.



       86.     Trailboss was prejudiced by GSA’s violations of applicable procurement law and

regulations. But for GSA’s error, Trailboss had a substantial chance of being awarded the contract

under the RFP.

       87.     Injunctive and declaratory relief are necessary to resolve this controversy between

Trailboss and the United States.

                                         COUNT IV
                    (Breach of Implied Duty of Good Faith and Fair Dealing)

       88.     Plaintiff repeats and incorporates by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

       89.     As an actual bidder who submitted a proposal under the RFP, Trailboss had an

implied contract with GSA imposing the duty of good faith and fair dealing.

       90.     GSA breached the implied contract to consider all proposals fairly and honestly by

conducting the procurement in an arbitrary, capricious, and irrational manner.

       91.     Trailboss was prejudiced by GSA’s breach of the implied contract and the duty of

good faith and fair dealing. But for GSA’s error, Trailboss had a substantial chance of being

awarded the contract under the RFP.

       92.     Injunctive and declaratory relief are necessary to resolve this controversy between

Trailboss and the United States.


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                                 VI.    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Trailboss Enterprises, Inc. respectfully asks this Court to enter

judgment in its favor and against Defendant and to:

        A.      Declare that GSA’s award of the contract to Acuity is arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with the law;

        B.      Enjoin GSA and Acuity from commencing performance on the contract awarded

under the RFP pending reevaluation and a new award decision;

        C.      Order GSA to reevaluate proposals in accordance with the RFP’s evaluation criteria

or, in the alternative, conduct discussions with all offerors, solicit and reevaluate revised proposals,

and make a new best-value decision;

        D.      Award Trailboss its attorney fees and costs incurred to pursue this action, and/or its

bid and proposal costs; and

        E.      Grant any such other relief as the Court deems appropriate.

 Dated: July 22, 2024                              Respectfully submitted,

                                                     /s/ Shaun C. Kennedy
                                                    Shaun C. Kennedy
                                                       Counsel of Record
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